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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

IN RE:                                                        §            CHAPTER 11
                                                              §
NATIONAL RIFLE ASSOCIATION OF                                 §            CASE NO. 21-30085-hdh11
AMERICA and SEA GIRT LLC,                                     §
                                                              §
           DEBTORS1                                           §            Jointly Administered
                                                              §

       DEBTORS’ SUPPLEMENT TO APPLICATION OF THE DEBTORS FOR AN
      ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF ANKURA
     CONSULTING GROUP, LLC AND APPOINTMENT OF LOUIS E. ROBICHAUX IV
              AS THE DEBTORS’ CHIEF RESTRUCTURING OFFICER

           The National Rifle Association of America and Sea Girt LLC (the “Debtors”) hereby

supplement their Application of the Debtors for an Order Authorizing the Retention and

Employment of Ankura Consulting Group, LLC and Appointment of Louis E. Robichaux as the

Debtors’ Chief Restructuring Officer (the “Ankura Application”)2 [ECF No. 519] to reflect the

1
    The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (Association) and 5681 (Sea Girt).
2
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Ankura
Application.

DEBTORS’ SUPPLEMENT TO APPLICATION OF THE DEBTORS FOR AN ORDER                                                 1 of 3
AUTHORIZING THE RETENTION AND EMPLOYMENT OF ANKURA CONSULTING
GROUP, LLC AND APPOINTMENT OF LOUIS E. ROBICHAUX IV AS THE DEBTORS’
CHIEF RESTRUCTURING OFFICER
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changes to the Engagement Agreement as a result of negotiations with the Official Committee of

Unsecured Creditors (the “Committee”).

       A revised version of the Engagement Agreement (the “Revised Engagement

Agreement”), to which the Debtors and the Committee have agreed, is attached hereto as Exhibit

“A.” A redline comparison of the Engagement Agreement and Revised Engagement Agreement

is attached hereto as Exhibit “B.”

 Dated: April 28, 2021                          Respectfully submitted,

                                                 /s/ Patrick J. Neligan, Jr.
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DEBTORS’ SUPPLEMENT TO APPLICATION OF THE DEBTORS FOR AN ORDER                          2 of 3
AUTHORIZING THE RETENTION AND EMPLOYMENT OF ANKURA CONSULTING
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 28th day of April a true and correct copy of

the foregoing was served electronically via this Court’s CM/ECF notification system.


                                             /s/ Douglas J. Buncher
                                            Douglas J. Buncher




DEBTORS’ SUPPLEMENT TO APPLICATION OF THE DEBTORS FOR AN ORDER                             3 of 3
AUTHORIZING THE RETENTION AND EMPLOYMENT OF ANKURA CONSULTING
GROUP, LLC AND APPOINTMENT OF LOUIS E. ROBICHAUX IV AS THE DEBTORS’
CHIEF RESTRUCTURING OFFICER
